
THORNAL, Chief Justice
(concurring specially).
I agree to the findings reflected by the opinion prepared by Mr. Justice Caldwell. I further agree that the Order of the Commission should be quashed to the extent that it directs re-instatement of so-called “luxury” or full train service within six months. To the extent that the Order requires re-instatement of one round-trip pas*221senger tram daily, as provided by Section 350.16, Florida Statutes, F.S.A., it should not be disturbed. However, there is no record support for a mail car or a tavern car in the consist of this daily train.
I, therefore, concur in the judgment.
THOMAS, DREW, O’CONNELL and HOBSON (Ret.), JJ., concur.
